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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


BENJAMIN CRUZ,                                   Case No. 1:17-cv-01237-JG

       Plaintiff,                               Honorable James S. Gwin

v.

DISH NETWORK, LLC,                                   STIPULATION OF DISMISSAL
                                                          WITH PREJUDICE
       Defendant.




       Now come the parties, through counsel, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii),

hereby dismiss the present action with prejudice, each party to bear its own fees and costs.


RESPECTFULLY SUBMITTED,                              Dated: November 22, 2017

Hyslip & Taylor, LLC, LPA                            Benesch, Friedlander, Coplan & Arnoff LLP

By: /s/ Jeffrey S. Hyslip                            By: /s/ Eric L. Zalud
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                               CERTIFICATE OF SERVICE

          I hereby certify that on November 22, 2017, I electronically filed the foregoing

Stipulation through the court’s CM/ECF system, which will perfect service upon all counsel of

record.




                                                                   /s/ Jeffrey S. Hyslip




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